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1    KEVIN V. RYAN (CSBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVBN 0722)
3    Chief, Criminal Division
4    MARK L. KROTOSKI (CSBN 138549)
     Assistant United States Attorney
5
        150 Almaden Boulevard, Suite 900
6       San Jose, California 95113
        Telephone: (408) 535-5035
7       FAX: (408) 535-5081
8    Attorneys for Plaintiff
9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12
                                                                  *E-FILED - 5/11/06*
13
     UNITED STATES OF AMERICA,                    )      No. CR 06-00054-RMW
14                                                )
             Plaintiff,                           )      ORDER AFTER HEARING
15                                                )      EXCLUDING TIME UNDER THE
        v.                                        )      SPEEDY TRIAL ACT
16                                                )
     JOSE SOLER,                                  )
17      a/k/a antboogie,                          )
        a/k/a Jas125,                             )
18          Defendants.                           )
                                                  )
19
20      On May 8, 2006, the above-captioned case came on for a status conference hearing.
21   Defendant Jose Soler, who was present, was represented by defense attorney N.A. Christensen,
22   JR., who was present. The United States was represented by Assistant U.S. Attorney Mark L.
23   Krotoski.
24      Defense counsel Christensen requested a substitution of counsel, for another attorney would
25   could address the computer-related issues in the case. Defense counsel Carleen R. Arlidge, who
26   was present, accepted substitution as counsel for defendant Soler, and was substituted by the
27   Court. Defense counsel Christensen represented on the record that he provided the discovery in
28   court to defense counsel Arlidge.

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1        At the hearing, the Court set a status conference for June 12, 2006 at 9:00 a.m..
2        The parties agreed and the Court independently found that time should be excluded under the
3    Speedy Trial Act from May 8, 2006 until June 12, 2006, for substitution of counsel, and to allow
4    counsel time to prepare, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv) (reasonable
5    time necessary for effective preparation taking into account the exercise of due diligence and
6    continuity of counsel).
7        Specifically, the ends of justice served by the granting of the continuance outweigh the best
8    interests of the public and the defendant in a speedy trial, after considering the relevant factors:
9        (i) The failure to grant such a continuance in the proceeding would be likely to result in a
10           miscarriage of justice since new defense counsel needs reasonable time to prepare and
11           pursue other investigation, particularly given the discovery provided (including a
12           voluminous amount of digital evidence);
13    (ii)   The failure to grant such a continuance would deny counsel for the defendant reasonable
14           time necessary for effective preparation, taking into account the exercise of due diligence;
15   (iii)   The request for the exclusion of time is also based on substitution of new counsel, and the
16           government concurs that time is warranted and appropriate for these matters under the
17           circumstances;
18    (iv) The request for the exclusion of time is reasonable and specifically limited in time until
19           June 12, 2005, after allowing time for reasonable time for investigation and preparation.
20       For the foregoing reasons, the ends of justice served by the granting of such continuance
21   outweigh the best interests of the public and the defendant in a speedy trial, and given that the
22   defense needs reasonable time necessary for effective preparation, taking into account the
23   exercise of due diligence. 18 U.S.C. S 3161(h)(8)(A).
24           This written order memorializes the oral rulings of the Court made on May 8, 2006
25              11 2006
     Dated: May __,
26
27                                                           /s/ Ronald M. Whyte
                                                            _________________________
                                                            RONALD M. WHYTE
28                                                          United States District Judge

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